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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

               v.                   :     21-CR-0576 (RC)

FLOYD RAY ROSEBERRY                 :



                                         ORDER

   Upon consideration of Defendant’s Unopposed Motion for Leave to Present Supplemental

Evidence at Hearing, it is hereby

   ORDERED that the motion is GRANTED; and it is further

   ORDERED that Dr. Teresa Grant may appear by video at the hearing scheduled for August 8,

2022 at 11 a.m.


                                    _______________________________________
                                    THE HONORABLE RUDOLPH CONTRERAS
